                 Case 1:20-cr-00238-JLT-SKO Document 136 Filed 12/14/20 Page 1 of 2
AO 98 (Rev. 12/11- EDCA [Fresno 11/13]) Appearance and Compliance Bond



                                    UNITED STATES DISTRICT COURT
                                                                   for the
                                                 Eastern District of California
UNITED STATES OF AMERICA,
                                                                         )
                                 v.                                      )
                                                                         )
                                                                               Case No.        1:20-mj-00129 EPG
                                                                         )
SAMANTHA BOOTH                                                           )
                             Defendant

                                           APPEARANCE AND COMPLIANCE BOND

                                                         Defendant’s Agreement
I,       SAMANTHA BOOTH                                         (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
          (    ) to appear for court proceedings;
          (    ) if convicted, to surrender to serve a sentence that the court may impose; or
          (    ) to comply with all conditions set forth in any Order Setting Conditions of Release for me.

                                                               Type of Bond
(     ) (1) This is a personal recognizance bond.

(     ) (2) This is an unsecured bond of $                                                   , with net worth of: $

( X ) (3) This is a secured bond of $              6,000                               , secured by: Julie Ann Weaver

        ( X ) (a) $ 6,000                              , in cash deposited with the court.

        (     ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                (describe the cash or other property, including claims on it – such as a lien, mortgage, or loan – and attach proof of
                 ownership and value):


                                                                                                                                         .
                 If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        (     ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):


                                                                                                                                         .

                                                   Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
                                    Case 1:20-cr-00238-JLT-SKO Document 136 Filed 12/14/20 Page 2 of 2



                  ,,, , , ,,1,         /(1111,/          lh     , •1ir1 "'" ,1 l·r 1111           11 ,,,.,11,111, · '"'"" ,•11.i�.i 111    111 11111       1111     h, 11.I ,,ill h•                ,,, 11 •d 111d 1h
                  11r1, "1111            r,l,.1 •""" 11 •11h,r 11l1h·d·h'11il1111,                               hH1111l1111 •11rt1, 1111 ill h,11J.'l' . 11 ,1-)1h,·d,l1.•11d,11111 p r1                               1n
                    ' ,I      Ill II ,


                                                                                                           lh·dara11oth

            11,      , 11, 1 ,,,,h           I', ,1      ,,,     \ 1 111,,,1,        I.th, kk1d1111             .111d, ·1,h 111 •1,          d.:1.l.111.•1111,k1 IH'11,ill) "' 1 ·1111r. 1h,1

                                        ,1II, ,, 11, 1 ,,1 1h, pr, I                1 1�    ..· 111111L! h
                                                                                                         l " ,1p1k,11 111, • h1111d ,111.· 111, l 11d.:d ,,11 11! • h 111<1,
                                        1h      I r,11        11. 1 11111     11h1,11,1,l,11111, ,           ,, 111 .1, 1k uih,•d ,il•11H·. ,111d

                           1 ·)         I" di 1, 1 1, tu ,. "" 11,•1 '"'''"·                       ,II ,111, p11•p1.1 1\    .dl11" 11111hr,          l,11111   1,, Ix- 111:11k lll!,111i..1 111            p, •I i:,t ..
                                        ,H.1 1     . 11,1h11c1 i ,,           du,,·th,       ,.ilm \\l11klhh \pp1.•arn11u:a11d< ,,111pl1.111u·ll,111d1                                   i11 ·lk,l


                  11,111,1         l.1h·d·k11d.1111                    .111.f ·.1,li,111,·1        h,l\1.0 1v.id1l11,.1pp1.,11,11h.1.hn11d,llldh,1,,·,·11hl.'rr,· ,11I dllhl.' ·111d11 1,11

     , 11 J ••                    ''" th        ,,1111 ,,, l1.1d ll,,·111 '- pl. 111<.'d h• Ill\.'            I ,lffl.'I.' 1(11h1   \pp,:;lf,111<.l' ,11,d (. .. 1,11pl1.1111.            ){1111.I



      I rl .. f I n i.1111                ,111d ..-.,d1          111...r,    dl.',l:ar'-' 11r11k1 p1.·11,al1_, .,,· p�r1111    1ha11h1, 111l111111,11i,,11 1, 11111.                 1   "l'•' -• l -.. (         I "' le, J


     I 1                                                                                                                                                                  _J
              ,
                                                                                                                                                                         H 'If 1111'




            c.JUL/� w�v'GR                                                                                                                                                                 12/<of 2020
                                        \ I I                                                                                                                                  ,,,



                                                                                                                                          l1llft f'r '/tr(\ i Ulll r        I 1//11(1/r,     /II , I I




                                  11r, II;,,,, r/1             ,,, r   {JI,,,,. 1/ ,,,rm,                                                                                   1i•11,i/111,     .,, I 1111



                                                                                                                   ( I I RA I)/ ( (){ I< I


f ).it ..
                   12/10/2020                                                                                                  W. Kusamura
                                                                                                                                              ,cn,:tr,,·, ,,; ( /l- ,. IIT , ,. , ttll '     \. I




                  December 11, 2020
                                                                                                                         United States Magistrate
                                                                                                                                        h,d•,      Judge, Sheila K. Oberto
                                                                                                                                                .,,.,,                         I
